                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

INDIRA DAYANNA LOPEZ-RUIZ, )                CV. NO. 11-0066 JMS/BMK
aka INDIRA DAYANNA CAUDLE )
LOPEZ,                        )             ORDER (1) DENYING
                              )             PLAINTIFF’S APPLICATION TO
               Plaintiff,     )             PROCEED WITHOUT
                              )             PREPAYMENT OF FEES; AND
          vs.                 )             (2) DISMISSING COMPLAINT
                              )             WITH LEAVE TO AMEND
TRIPLER ARMY MEDICAL          )
CENTER’S POSTDOCTORAL         )
FELLOWSHIP IN CLINICAL        )
PSYCHOLOGY; ARGOSY            )
UNIVERSITY; WALDEN            )
UNIVERSITY; MIAMI DADE        )
COLLEGE; AND THE UNITED       )
STATES OF AMERICA,            )
                              )
               Defendants.    )
_____________________________ )

   ORDER (1) DENYING PLAINTIFF’S APPLICATION TO PROCEED
      WITHOUT PREPAYMENT OF FEES; AND (2) DISMISSING
              COMPLAINT WITH LEAVE TO AMEND

            On January 27, 2011, Plaintiff Indira Dayanna Lopez-Ruiz, aka Indira

Dayanna Caudle Lopez (“Plaintiff”) filed (1) a Complaint against various

Defendants stemming from what appears to be several separate, unrelated

incidents; and (2) an Application to Proceed Without Prepayment of Fees and
Affidavit (the “Application”).1 Pursuant to Local Rule 7.2(d), the court finds this

matter suitable for disposition without a hearing, and based on the following, the

court DENIES Plaintiff’s Application and DISMISSES the Complaint with leave

to amend.

                                           ANALYSIS

A.     Plaintiff’s Application

               Federal courts can authorize the commencement of any suit without

prepayment of fees or security, by a person who submits an affidavit that includes

a statement of all assets the person possesses, demonstrating she is unable to pay

such costs or give such security. See 28 U.S.C. § 1915(a)(1). “[A]n affidavit is

sufficient which states that one cannot because of [ ] poverty pay or give security

for the costs and still be able to provide himself and dependents with the

necessities of life.” Adkins v. E.I. Du Pont de Nemours & Co., Inc., 335 U.S. 331,

339 (1948) (internal quotations omitted); see also United States v. McQuade, 647

F.2d 938, 940 (9th Cir. 1981) (stating that the affidavit must “state the facts as to



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             Plaintiff also filed a document entitled, “Forma de Pauperis Settlement Offer,” which
seeks “To Set Marshall Service, to Set Costs & Fees; To Set Jury; To Set U.S.A. with Plaintiff.”
This document is not clear whatsoever, but to the extent it is directed to pretrial matters, Plaintiff
must first, as described below, present the court with a Complaint that states a claim upon which
relief can be granted. Further, to the extent this document states claims against Defendants,
Plaintiff must include such claims in her Complaint, and not separately. The court therefore
STRIKES this document as improper.

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affiant’s poverty with some particularity, definiteness and certainty” (internal

quotation omitted)).

             When reviewing a motion filed pursuant to § 1915(a), “[t]he only

determination to be made by the court . . . is whether the statements in the affidavit

satisfy the requirement of poverty.” Martinez v. Kristi Kleaners, Inc., 364 F.3d

1305, 1307 (11th Cir. 2004). While § 1915(a) does not require a litigant to

demonstrate absolute destitution, Adkins, 335 U.S. at 339, the applicant must

nonetheless show that she is “unable to pay such fees or give security therefor.” 28

U.S.C. § 1915(a).

              Plaintiff’s Application fails to demonstrate that she is unable to pay

the costs of her suit. In the Application, Plaintiff declares under penalty of perjury

that she: 1) is not presently incarcerated; 2) is presently employed with a gross pay

of $2,000 per month and take-home pay of $1,800 per month; 3) has a checking

account with a balance of $1,862; 4) has other property worth $4,800; 5) has

monthly expenses in the amount of approximately $1,585; 5) has a debt of

approximately $20,000; and 6) has a son, which Plaintiff pays $140 for support. It

also appears that Plaintiff owns two vehicles, as she lists that she owes $3,000 on

an Audi, and $3,500 on a Honda.

             As an individual with income of $1,800 per month ($21,600 per year)

and possibly one dependent, Plaintiff has failed to demonstrate poverty to support

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her request for in forma pauperis status. Although the court does not apply the

federal poverty guidelines as the sole basis to grant or deny in forma pauperis

status, the court notes that the 2010 federal poverty guidelines issued by the United

States Department of Health & Human Services for a single person is $12,460, and

for a two-person family living in Hawaii is $16,760. See

http://aspe.hhs.gov/poverty/10poverty.shtml (last visited Dec. 14, 2010).

Plaintiff’s income is well in excess of the federally-established poverty guideline,

and Plaintiff has other assets as well. Further, although Plaintiff asserts that she

has some debts, her monthly income still exceeds her monthly expenses.

             Accordingly, Plaintiff’s Application is DENIED. As explained below,

Plaintiff’s Complaint is being dismissed without prejudice to filing an amended

complaint by February 24, 2011. If Plaintiff chooses to file an Amended

Complaint, she must also submit the requisite filing fee of $350.00 to commence

this action. If Plaintiff chooses not to file an amended complaint, she need not

submit the $350.00 filing fee and the action will be closed.

B.    The Complaint Is Dismissed with Leave to Amend

             The court must subject each civil action commenced pursuant to 28

U.S.C. § 1915(a) to mandatory screening, and order the dismissal of any claims it

finds “frivolous, malicious, failing to state a claim upon which relief may be

granted, or seeking monetary relief from a defendant immune from such relief.” 28

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U.S.C. § 1915(e)(2)(B); Lopez v. Smith, 203 F.3d 1122, 1126-27 (9th Cir. 2000)

(en banc) (stating that 28 U.S.C. § 1915(e) “not only permits but requires” the

court to sua sponte dismiss an in forma pauperis complaint that fails to state a

claim); Calhoun v. Stahl, 254 F.3d 845, 845 (9th Cir. 2001) (per curiam) (holding

that “the provisions of 28 U.S.C. § 1915(e)(2)(B) are not limited to prisoners”).

             The court may dismiss a Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(6) if it fails to “contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct.

1937, 1949 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)); see also Weber v. Dep’t of Veterans Affairs, 521 F.3d 1061, 1065 (9th Cir.

2008). “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at 1949 (citing

Twombly, 550 U.S. at 555). Rather, “[a] claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. at 1949

(citing Twombly, 550 U.S. at 556).

             A complaint must also meet the requirements of Federal Rule of Civil

Procedure 8, which mandates that a complaint include a “short and plain statement

of the claim,” Fed. R. Civ. P. 8(a)(2), and that “each allegation must be simple,

concise, and direct.” Fed. R. Civ. P. 8(d)(1). Factual allegations that only permit

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the court to infer “the mere possibility of misconduct” do not show that the pleader

is entitled to relief as required by this Rule. Iqbal, 129 S. Ct. at 1950. Further, a

complaint that is so confusing that its “‘true substance, if any, is well disguised’”

may be dismissed for failure to satisfy Rule 8. Hearns v. San Bernardino Police

Dep’t, 530 F.3d 1124, 1131 (9th Cir. 2008) (quoting Gillibeau v. City of Richmond,

417 F.2d 426, 431 (9th Cir. 1969)); see also McHenry v. Renne, 84 F.3d 1172,

1180 (9th Cir. 1996) (“Something labeled a complaint but written . . ., prolix in

evidentiary detail, yet without simplicity, conciseness and clarity as to whom

plaintiffs are suing for what wrongs, fails to perform the essential functions of a

complaint.”).

             Plaintiff is appearing pro se; consequently, the court liberally

construes her pleadings. Eldridge v. Block, 832 F.2d 1132, 1137 (9th Cir. 1987)

(“The Supreme Court has instructed the federal courts to liberally construe the

‘inartful pleading’ of pro se litigants.” (citing Boag v. MacDougall, 454 U.S. 364,

365 (1982) (per curiam)). Even liberally construed, however, the court cannot

discern the basis of Plaintiff’s claims against each Defendant such that the

Complaint must be dismissed for failure to comply with Rules 8 and 12(b)(6). For

example, Plaintiff asserts that she has experienced “obvious discrimination against

by ethnicity, gender, sexuality, and religious or political beliefs,” but it is unclear

which Defendant allegedly discriminated against her, what discriminatory actions

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the Defendant took against her, or when the discrimination occurred. The

Complaint also appears to assert that (1) Miami Dade College and/or Walden

University stole her research ideas, id. ¶¶ 33-38; (2) a “Bank of America” CPA

incorrectly prepared her taxes such that Plaintiff owes money to the Department of

Treasury, id. ¶¶ 39-40; (3) Tripler Army Medical Center violated Plaintiff’s

HIPAA and due process rights, id. ¶¶ 49; (4) Argosy University committed

“unconscionable acts,” id. ¶ 56; see also id. ¶¶ 51-55; (5) there exists a “conspiracy

to steal [Plaintiff’s] patent deals,” id. ¶¶ 61; (6) Defendants are conspiring to keep

Plaintiff in the United States against her wishes, id. ¶¶ 65;

(7) Plaintiff is entitled to restitution for psychological and medical experiments

performed on her in Honduras through “a joint US task force team,” id. ¶¶ 72-73;

and (8) the United States Army abused its power of authority when Plaintiff was

trying to leave her abusive husband. Id. ¶¶ 74.

             These allegations are wholly vague and ambiguous -- the court cannot

determine the basis of these allegations or what each Defendant allegedly did that

forms the basis of these claims. Further, to the extent Plaintiff has provided other

facts that could potentially support these allegations, they are completely hidden

within Plaintiff’s long discussions of her family history, educational achievements,

and financial stability, id. ¶¶ 3-28, 42-47, and pretrial requests (1) to require

Defendants to pay Plaintiff’s attorneys’ fees; (2) have the court open a “Federal

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Investigation;” (3) for potential settlement offers; (4) to preserve various

objections; and (5) for a conference on discovery. Id. at pp. 5-8. Due to this

confusing, rambling set of allegations, the Complaint fails to provide sufficient

specific facts for the court or defendants to have notice of what happened and

when, or who did what to Plaintiff. As a result, the Complaint fails to provide any

comprehensible basis for determining whether Plaintiff is entitled to relief, much

less provide sufficient allegations to “state a claim to relief that is plausible on its

face.” Iqbal, 129 S. Ct. at 1949. And the Complaint certainly fails to provide a

“short and plain statement of the claim,” Fed. R. Civ. P. 8(a)(2), with allegations

that are “simple, concise, and direct.” Fed. R. Civ. P. 8(d)(1). The court therefore

DISMISSES the Complaint.

             This dismissal is with leave to amend. Plaintiff may file an amended

complaint that (1) complies with Rule 8’s requirement of “simple, concise, and

direct” allegations, and (2) contains a basis for federal subject matter jurisdiction.

             If Plaintiff chooses to file an amended complaint:

             (1)    She must clearly state how each named Defendant has injured

                    her. In other words, Plaintiff should explain, in clear and

                    concise allegations, what each Defendant did and how those

                    specific facts create a plausible claim for relief. Plaintiff should

                    not include facts that are not directly relevant to her claims and

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                   should not include pretrial requests for discovery, attorneys’

                   fees, settlement offers, etc.;

             (2)   She must clearly state the relief sought and should demonstrate

                   the basis for a claim in federal court. In other words, Plaintiff

                   must explain the basis of this court’s jurisdiction; and

             (3)   She must pay the $350 filing fee.

             Plaintiff is further notified that an amended complaint supersedes the

original Complaint. Ferdik v. Bonzelet, 963 F.2d 1258 (9th Cir. 1992); Hal Roach

Studios v. Richard Feiner & Co., 896 F.2d 1542, 1546 (9th Cir. 1990). After

amendment, the court will treat the Complaint as nonexistent. Ferdik, 963, F.2d at

1262. Any cause of action that was raised in the original Complaint is waived if it

is not raised in an amended complaint. King v. Atiyeh, 814 F.2d 565, 567 (9th Cir.

1987).

                                  CONCLUSION

             For the reasons stated above, the court DENIES Plaintiff’s

Application and DISMISSES the Complaint with leave to amend. If Plaintiff

chooses to file an amended complaint, it must be accompanied by the required

$350 filing fee. Plaintiff is allowed until February 24, 2011 to file an amended

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complaint. Otherwise, this action will automatically be dismissed without

prejudice and the matter will be closed.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, February 4, 2011.




                                           /s/ J. Michael Seabright
                                           _____________________________
                                           J. Michael Seabright
                                           United States District Judge




Lopez-Ruiz v. Tripler Army Med. Center’s Postdoctoral Fellowship in Clinical Psychology et al.,
Civ. No. 11-00066 JMS/BMK; Order (1) Denying Plaintiff’s Application to Proceed Without
Prepayment of Fees; and (2) Dismissing Complaint with Leave to Amend




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